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                         UNITED STATES BANKRUPTCY COURT
                            DISTRICT OF MASSACHUSETTS
                                  (Eastern Division)

 In re:
                                                  Chapter 7
 ANDRE BISASOR,                                   No. 15-13369-JNF

                               Debtor.

    ORDER APPROVING TRUSTEE'S FINAL REPORT AND ACCOUNT BEFORE
      DISTRIBUTION, REQUEST FOR COMPENSATION AND REPORT ON
                  CLAIMS/PROPOSED DISTRIBUTION

          The Trustee's Final Report And Account Before Distribution and attachments thereto

having come for hearing before the Court, and no objections having been filed, the Court hereby

states as follows:

          IT IS ORDERED that the Trustee's Final Report And Account Before Distribution is

hereby APPROVED, including all requests for compensation and expenses set forth therein and

other attachments thereto.




                                     ____________________________________
                                     JOAN N. FEENEY
                                     UNITED STATES BANKRUPTCY JUDGE


Dated:
